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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


 In re:                                                         Chapter 11

 SHIFTPIXY, INC. et, al.1                                       Case No. 24-21209-LMI

       Debtors.                                                 (Jointly Administered)
 _______________________________/

    SECOND SUPPLEMENT TO FIRST AND FINAL FEE APPLICATION FOR
 ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
 EXPENSES FOR THE LAW FIRM OF DGIM LAW, PLLC AS COUNSEL FOR THE
                       CHAPTER 11 DEBTORS

    1. Name of Applicant:                                       DGIM Law, PLLC

    2. Role of Applicant:                                       Counsel for Chapter 11 Debtor

    3. Name of Certifying Professional:                         Isaac M. Marcushamer, Esq.

    4. Date Case(s) Filed:                                      October 28, 2024

    5. Date of Retention Order:                                 November 27, 2024 [ECF No. 87]

    6. Period for this Application:                             December 16, 2024-December 23, 2024

    7. Amount of Compensation Sought:                           $28,413.50 2

    8. Amount of Expense Reimbursement:                         $3,421.78

    9. Holdbacks from prior free applications                   N/A

    10. Total Amount of Compensation Sought
        During Case                                             $170,820.50 (First Application)
                                                                $9,102.00 (Supplement)




1 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.

2 Fees in this matter shall not exceed $215,000.00..
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    11. Total Amount of Expense Reimbursement
        Sought During Case                                  $11,667.85 (First Application)
                                                            $4,102.57 (Supplement)

    12. Total Amount of Fees Awarded
        During Case:                                        N/A

    13. Total Amount of Expenses Awarded
        During Case:                                        N/A

    14. Amount of Original Retainer:                        $100,000.003

    15. Current Balance of Retainer Remaining:              $0.00

    16. Last monthly operating report filed:                Debtors will file their report on December
                                                            30, 2024 for the period of October 28, 2024-
                                                            November 30, 2024.

    17. If case is Chapter 11, Current funds in
        Chapter 11 estate:                                  The ending balance on December 10, 2024,
                                                            in the Debtor’s DIP account (and other
                                                            accounts permitted to be used) was
                                                            $239,661.004

    18. If case is Chapter 7, current funds held            N/A.
        by Chapter 7 trustee:




3 The Applicant used $15,373.50 prepetition, as detailed in ECF No. 11 at page 7-8 of 19. Applicant is currently
holding $84,626.50 of the retainer.
4 Cash from the DIP account continues to be used as permitted by the Cash Collateral Order [ECF No. 96].

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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


 In re:                                                         Chapter 11

 SHIFTPIXY, INC. et, al.5                                       Case No. 24-21209-LMI

       Debtors.                                                 (Jointly Administered)
 _______________________________/

    SECOND SUPPLEMENT TO FIRST AND FINAL FEE APPLICATION FOR
 ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
 EXPENSES FOR THE LAW FIRM OF DGIM LAW, PLLC AS COUNSEL FOR THE
                       CHAPTER 11 DEBTORS

          DGIM LAW, PLLC (“Applicant” or “DGIM”), as counsel for Shiftpixy, Inc., Shiftpixy

Staffing, Inc., and ReThink Human Capital Management, Inc. (collectively, the “Debtors”) hereby

files its second supplement to the First and Final Fee Application for Allowance and Payment of

Compensation and Reimbursement of Expenses for the Law Firm of DGIM Law, PLLC as Counsel

for the Chapter 11 Debtors [ECF No. 114] (the “Final Application”) and seeks approval and

allowance of its fees and costs incurred during the period from December 16, 2024 through

December 23, 2024 (the “Application Period”). This application is filed pursuant to this Court’s

Order Granting Application For Compensation [ECF No. 143], 11 U.S.C. §§ 330 and 331,

Bankruptcy Rule 2016, and Local Rule 2016-1 (B)(3) and meets all the requirements set forth In

the Guidelines for Fee Applications for Professionals in the Southern District of Florida in

Bankruptcy Cases (“Fee Guidelines”) incorporated in Local Rule 2016-1(B)(3)(a).

                                               INTRODUCTION


5 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.


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       This case was filed on October 28, 2024. On October 30, 2024, DGIM filed the Application

to Employ Isaac M. Marcushamer and the Law Firm of DGIM Law, PLLC, as Counsel Retroactive

to October 28, 2024 [ECF No. 11] and on November 27, 2024 the Court entered the Order

Granting Debtor-in-Possession’s Application to Employ Isaac M. Marcushamer and the Law Firm

of DGIM Lw, PLLC as Counsel Retroactive to October 28, 2024 [ECF No. 87].

       The Debtors’ core business is a human capital management platform that provides a full

suite of personnel staffing services to its clients. For a more detailed description of the Debtor’s

business see Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day

Pleadings [ECF No. 16] (the “Declaration”).

       The reasons for filing for Chapter 11 bankruptcy relief are discussed in the Declaration.

However, the Chief Restructuring Officer, intended to sell the ongoing business assets as soon as

practicable. Those auctions have occurred and are, as of the time of filing this Application, in the

process of being approved or completed. Filing of the bankruptcy also preserved the right of the

estate to challenge the security interest of a Balanced Management LLC that was filed during the

preference period. Additionally, the Debtors were subject to approximately 30 prepetition lawsuits

and could not continue to fund a defense to them. Finally, the Debtors (or their estates) will be able

to investigate and prosecute any litigation claims that they may have and the filing of these cases

preserved those assets as well.

       The exhibits attached to this Application, pursuant to the Guidelines, are:

       Exhibits “1” -Fee Application Summary Chart

       Exhibit "2-A" and “2-B”- Summary of Professional and Paraprofessional Time.

       Exhibit “3”- Summary of Requested Reimbursements of Expenses.




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       Exhibit "4" - Applicant’s complete time records, in chronological order, by activity code
       category, for the period covered by this Application. The requested fees are itemized to the
       tenth of an hour.

       DGIM submits that the supplemental requested fee in the amount of $9,102.00 for 21.30

hours worked is reasonable considering the twelve factors enumerated in Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714 (5th Circuit 1974), made applicable to bankruptcy

proceedings by In re First Colonial Corp. of America, 554 F.2d 1291 (5th Circuit 1977).

       I.     RETENTION OF APPLICANT, DISCLOSURE OF COMPENSATION
              AND REQUESTED AWARD

       By Final Order entered on November 27, 2024 [ECF No. 87], the Court authorized the

retention of Applicant as general bankruptcy counsel. Applicant’s compensation is conditioned

on approval by this Court.

       Applicant respectfully submits this Application for a second supplemental award of

professional fees and expenses incurred during the Application Period. Applicant seeks a second

supplemental award of $28,413.50 in fees, plus reimbursement of expenses in the amount of

$3,421.78.

       Applicant submits that the requested supplemental fee in the amount of $28,413.50 for

57.80 hours worked is reasonable considering the nature, extent, and the value of such services,

taking into account all relevant factors enumerated in Johnson v. Georgia Highway Express, Inc.,

488 F.2d 714 (5th Circuit 1974), made applicable to bankruptcy proceedings by In re First

Colonial Corp. of America, 554 F.2d 1291 (5th Circuit 1977). First Colonial remains applicable

in the Eleventh Circuit to the determination of reasonableness of fees to be awarded under the

Bankruptcy Code. Grant v. George Schuman Tire & Battery Company, 908 F.2d 874 (11th Cir.

1990); 2 Collier on Bankruptcy ¶ 330.05[2][a] at 330-33 through 330-37 (L. King 15th ed. 1991);



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See also Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981). First Colonial, 544

F.2d at 1298-99. The relevant factors enumerated in Johnson are as follows:

       A.      Time and Labor Required:

       Exhibits 2-4 illustrate the time and labor required for this engagement for a total of 57.80

hours. The average hourly rate for the Applicant during the period covered by this Application is

approximately $491.58. The time expended by the Applicant for professional services furnished

to the Debtors as appears on Exhibit 2-A does not reflect and cannot reflect all the time expended

by the Applicant. Many telephone calls, routine correspondence, requests by parties in interest

regarding the status of the case and their individual claims cannot be reduced to time recordation

and would increase the amount of time expended by the Applicant in this case. The foregoing

summary, together with the exhibits, details the time, nature, and extent of the professional services

the Applicant rendered for the benefit of the Debtor during the period covered by this Application.

       B.      Novelty and Difficulty of Questions Presented:

       This case presented novel and difficult issues that require substantive legal knowledge in

the fields of corporate law, bankruptcy, and bankruptcy litigation.      One of the Debtor’s was a

publicly traded company. The largest creditors are government agencies, including the Internal

Revenue Service. Liquidating the assets on an expedited timeline while maintaining a business has

presented difficult questions that the Applicant addressed along with the CRO.

       C.       Skill Requisite to Perform Services Properly.

       In rendering services to the Debtors, the Applicant demonstrated substantial skills and

expertise in corporate and bankruptcy law.

       D.      Preclusion from Other Employment Due to Acceptance of Case.




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       The Applicant is aware of no other specific employment which was precluded because of

it accepting these cases; however, a significant part of the Applicant’s firm was utilized during the

relevant period.

       E.      Customary Fee.

       Applicant’s hourly rates as set forth in the attached exhibits reflect the hourly rates the

Applicant bills to its clients in other similar bankruptcy cases. This Court has approved these rates,

as have other courts within this district, in other bankruptcy matters in which the Applicant and

other counsel of like reputation and experience have been involved.

       F.      Whether Fee is Fixed or Contingent.

       The Applicant’s compensation in this matter is subject to approval of the Court and

therefore contingent. The Court should consider this factor, which militates in favor of a fee award

in the amount requested. The amount requested is based on a fixed hourly rate that is consistent

with what the Applicant charges its clients in other non-contingent, bankruptcy and commercial

cases. The rates charged by the Applicant as set forth in Exhibit “2-A” are well within the range

charged by attorneys in the Southern District of Florida of similar skill and reputation in the areas

of bankruptcy and commercial law.

       G.      Time Limitations Imposed by Client or Other Circumstances.

       The Applicant is not aware of any specific extraordinary time limitations imposed by the

Debtor in this case. This case, however, has required the Applicant to spend significant time in

representing the Debtor, resolving complex issues and directing a successful sales effort.

       H.    Experience, Reputation and Ability of Attorneys.

       The lawyers and non-lawyer members of the firm have substantial experience in

bankruptcy, commercial law and litigation and are all known in this Court. The co-lead counsels



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in this matter, Isaac M. Marcushamer and Monique D. Hayes, both have over fifteen (15) years of

experience handling sophisticated bankruptcy matters and have been recognized by their peers for

performance and client success. Ms. Hayes has earned an American Board Certification in business

bankruptcy.

       I. The Undesirability of the Case.

       This case was not undesirable. The Applicant is privileged to have the opportunity to

represent the Debtor and appear before the Court in this case.

       J. Awards in Similar Cases.

       The amount requested by the Applicant is reasonable in comparison with awards in cases

of similar magnitude and complexity. The compensation which the Applicant requests comports

with the mandate of the Bankruptcy Code, which directs those services be evaluated considering

comparable services performed in non-bankruptcy cases in the community.

II.    DESCRIPTION AND SUMMARY OF SERVICES PERFORMED

       As set forth in the Exhibits to this Application, the Applicant has organized its time records

by activity codes in accordance with the Guidelines. During the Supplemental Application Period,

Applicant performed a multitude of legal services which were necessary to effectively represent

the Debtor in this case, and which provided benefit to the estate and confirmation. The specific

services rendered by Applicant during the Application Period are detailed in the firm’s billing

records attached hereto as Exhibit “4” and generally described below.

III.   CASE BACKGROUND

       For a detailed case background please refer to the First and Final Fee Application for

Allowance and Payment of Compensation and Reimbursement of Expenses for the Law Firm of

DGIM Law, PLLC as Counsel for the Chapter 11 Debtors [ECF No. 114].



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       II.      CONCLUSION

       As set forth in the original fee application, in this supplement and in the attached exhibits

in detail, the Applicant has provided substantial and valuable services to the Debtor during the

Supplemental Application Period. Based on the above and the standards set forth in section 330

of the Bankruptcy Code and First Colonial, the Applicant believes that the fees sought herein for

such valuable services are reasonable. For this reason and the reasons set forth in this Application,

Applicant seeks a second supplemental final award of $28,413.50 in fees, expenses in the amount

of $3,421.78.

       WHEREFORE, the Applicant, DGIM Law, PLLC, respectfully requests the entry of an

Order awarding the Applicant on a final basis [ECF No. 143] plus second supplemental fees in the

amount of $28,413.50, expenses in the amount of $3,421.78 for a total final award of $31,835.28,

and such other relief as the Court deems appropriate.

       Dated December 26, 2024.

                                                       DGIM Law, PLLC
                                                       Counsel for the Debtors
                                                       2875 NE 191st Street, Suite 705
                                                       Aventura, FL 33180
                                                       Phone: (305) 763-8708

                                                       /s/ Isaac M. Marcushamer
                                                       Isaac Marcushamer, Esq.
                                                       Florida Bar No. 0060373
                                                       isaac@dgimlaw.com
                                                       Monique D. Hayes, Esq.
                                                       Florida Bar No. 0841573
                                                       monique@dgimlaw.com




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                                       CERTIFICATION

       1.      I, Isaac M. Marcushamer, have been designated by DGIM Law, PLLC (the
“Applicant”) as the professional with responsibility in this case for compliance with the
“Guidelines for Fees Applications for Professionals in the Southern District of Florida Bankruptcy
Cases (the “Guidelines”).
       2.      I have read the Applicant’s application for compensation and reimbursement of
expenses (the “Application”). The application complies with the Guidelines, and the fees and
expenses sought fall within the Guidelines, except as specifically noted in this certification and
described in the application.
       3.      The fees and expenses sought are billed at rates and in accordance with practices
customarily employed by the Applicant and generally accepted by the Applicant’s clients.
       4.      In seeking reimbursement for the expenditures described on Exhibit 3, the
Applicant is seeking reimbursement only for the actual expenditure and has not marked up the
actual cost to provide a profit or to recover the amortized cost of investment in staff time or
equipment or capital outlay.
       5.      In seeking reimbursement for any service provided by a third party, the Applicant
is seeking reimbursement only for the amount actually paid by the Applicant to the third party.
       6.      The following are the variances with the provisions of the Guidelines, the date of
each court order approving the variance, and the justification for the variance: None


       Dated December 26, 2024.


                                                       /s/ Isaac M. Marcushamer
                                                       Isaac Marcushamer, Esq.
                                                       Florida Bar No. 0060373
                                                       isaac@dgimlaw.com




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                                              EXHIBIT 1

                                   Fee Application Summary Chart


Date       ECF    Amount of   Amount       Fees             Expenses       Holdbacks Payments   Estimated
Filed      Nos.   Fees        of           Awarded          Awarded                  Received   Fees
                              Expenses
12/12/24   114    $170,820.50 $11,667.85   $170,820.50 $11,667.50          N/A
12/15/24   133    $9,102.00   $4,102.57    $9,102.00   $4,102.57           N/A                  $35,077.50
12/23/24          $28,413.50 $3,421.78                                     N/A




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                                                     EXHIBIT 2-A

                           Summary of Professional and Paraprofessional Time
                               Total per Individual for this Period Only

[If this is a final application, and does not cumulate fee details from prior interim applications,
then a separate Exhibit 1-A showing cumulative time summary from all applications is attached as
well]

    Name                             Partner          Year     Total                      Average          Fee
                                     Associate or     Licensed Hours                      Hourly
                                     Paraprofessional                                     Rate

    Isaac Marcushamer                Partner                  2008          31.00         $565.00          $17,515.00
    Monique Hayes                    Partner                  2004          14.50         $565.00          $8,192.50
    Colleen Hopkins                  Paralegal                N/A           12.30         $220.00          $2,706.00
    TOTAL                                                                   56.50                          $28,413.50




      Blended Average Hourly Rate6:                           $491.58

                                 Total Fees                    $28,413.50




6
    As of January 1, 2024, consistent with practice in the district, Applicant raised the hourly rates of professionals.

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                                   EXHIBIT 2-1
Summary of Professional and Paraprofessional Time By Activity Code Category

ACTIVITY CODE CATEGORY: Asset Disposition
 NAME                                   RATE              HOURS          TOTAL FEES
 Isaac Marcushamer                      $565.00           17.20          $9,718.00

 Monique Hayes                          $565.00           2.60           $1,469.00

 Total                                                    19.80          $11,187.00

ACTIVITY CODE CATEGORY: Business Operations
 NAME                                   RATE              HOURS          TOTAL FEES

 Isaac Marcushamer                      $565.00           5.50           $3,107.50

 Total                                                    5.50           $3,107.50

ACTIVITY CODE CATEGORY: Case Administration
 NAME                                   RATE              HOURS          TOTAL FEES

 Colleen Hopkins                        $220.00           10.30          $2,266.00

 Monique Hayes                          $565.00           5.60           $3,164.00

 Isaac Marcushamer                      $565.00           6.50           3,672.50

 Total                                                    22.40          $9,102.50

ACTIVITY CODE CATEGORY: Claims Administration and Objections
 NAME                                   RATE              HOURS          TOTAL FEES

 Monique Hayes                          $565.00           6.30           $3,559.50

 Total                                                    6.30           $3,559.50




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ACTIVITY CODE CATEGORY: Fee Employment Application
NAME                                 RATE              HOURS         TOTAL FEES

Colleen Hopkins                      $220.00           2.00          $440.00

Total                                                  2.00          $440.00

ACTIVITY CODE CATEGORY: Litigation
NAME                                 RATE              HOURS         TOTAL FEES

Isaac Marcushamer                    $565.00           1.80          $1,017.00

Total                                                  1.80          $1,017.00




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                                   EXHIBIT 3
      Summary of Requested Reimbursement of Expenses for this Time Period Only

      [If this is a final application which does not cumulate prior interim applications, a separate
summary showing cumulative expenses for all applications is attached as well]

       1.      Filing Fee                                                    $0.00

       2.      Process Service Fees                                         $0.00

       3.      Witness Fees                                                  $0.00

       4.      Court Reporter Fees and Transcripts                          $0.00

       5.      Lien and Title Searches/UCC Search/Corporate                 $0.00

       6.      Photocopies
       (a)     In-house copies                                              $0.00
       (b)     Outside copies                                               $3,421.78
       7.      Postage                                                      $0.00

       8.      Overnight Delivery Charges                                   $0.00

       9.      Outside Courier/Messenger Services                           $0.00

       10.     Long Distance Telephone Charges (Court Call)                 $0.00

       11.     Long Distance Fax Transmissions
                  (copies at $1/page)                                       $0.00

       12.     Computerized Research - PACER                                $0.00

       13.     Out-of-Southern-District-of-Florida Travel                   $0.00
       (a)     Transportation                                               $0.00
       (b)     Lodging                                                      $0.00
       (c)     Meals                                                        $0.00

       14.     Other Permissible Expenses (must specify and justify)        $0.00
       (a)     Parking for Trial                                            $0.00
       (b)     Sharefile Data Room                                          $0.00


       Total Expense Reimbursement Requested                                $3,421.78


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                                          EXHIBIT 4



                                         Time Records

The applicant's complete time records, in chronological order, by activity code category, for the
time period covered by this application. The requested fees are itemized to the tenth of an hour.




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                                                                                           Turnberry Plaza
                                                                             2875 N.E. 191 Street, Suite 705
                                                                                   Aventura, Florida 33180
                                                                                          P (305) 763-8708



Shiftpixy, Inc.                                                                         December 23, 2024
c/o of Jonathan Feldman, CRO:                                                                       379-1
Jonathan S. Feldman, Esq.
One Biscayne Tower, Suite 1600
2 South Biscayne Boulevard
Miami, Florida 33131


Matter No. 379-1
Chapter 11 Filing
Bill No. 8173


Fees:                                                                               Hours           Amount

12/16/24      CH        Receipt and review of final fee application for               1.00           220.00
                        CRO; receipt and review of notices of hearing;
                        attention to service of pleadings; filing of
                        certificate of service.

12/16/24      CH        Attention to completion of sale hearing and                   3.10           682.00
                        preparation of order on motion to amend, order
                        granting fee application and supplement to
                        DGIM; order on CRO fee application, exhibit
                        register of hearings; notice of filing updated APA
                        and sale order (2.0); preparation of order to
                        convert cases (.8); final preparation and filing
                        updated APA (.3).

12/16/24      MH        Confer with client reps and review related                    2.60         1,469.00
                        documents regarding proposed motion to correct
                        W-2 filings; e-mail and phone correspondence
                        with creditor counsel

12/16/24      MH        Prepare for and attend sale and conversion                    2.60         1,469.00
                        hearing

12/16/24      IM        Prepare for (0.8) and attendance at sale hearing              7.60         4,294.00
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Chapter 11 Filing                                                                                  Page 2


                        and related matters (2.7); post hearing review of
                        orders (1.2); attention to sale transition items
                        (2.9)

12/16/24      MH        Review proposed tax adjustments; e-mail                       0.80         452.00
                        regarding same

12/17/24      CH        Final preparation and filing exhibit register (.4);           1.80         396.00
                        final preparation and upload fee orders for CRO
                        and DGIM (.4); final preparation and upload
                        order on sale motion (.3); finalization of draft
                        order on motion to reject contract with Tac
                        Nexeo; upload proposed order (.4); meeting with
                        I. Marcushamer regarding mailouts (.1); attention
                        to manager's certificate; send to client for
                        signature (.2).

12/17/24      IM        Call regarding Taco creditor W-2 issues                       1.00         565.00

12/17/24      IM        Adjust sale order (1.0); discuss closing                      3.10       1,751.50
                        mechanics with buyer's counsel (.6); prepare for
                        closing with internal team (1.5)

12/17/24      MH        Confer with client reps regarding tax claim                   0.70         395.50
                        issues

12/17/24      MH        Meet and confer with client and tax related                   0.50         282.50
                        claimant counsel

12/17/24      MH        Review and consider tax claim history and                     2.40       1,356.00
                        related documents

12/18/24      CH        Attention to sale order and service. filing of                1.80         396.00
                        certificate of service (.8); receipt of signed
                        managers certificate; forward to I. Marcushamer
                        (.2); resubmit order DE 129 (.2); email to counsel
                        in Orange County case regarding bankruptcy
                        filing (2); receipt and review of auction report;
                        download (.2); follow up with client regarding
                        November MOR (.2).

12/18/24      IM        Attention to variety of closing related items                 4.20       2,373.00
                        including prorations and cut over of services
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Chapter 11 Filing                                                                                   Page 3


12/18/24      IM        Review and respond to credit counsel seeking to                1.80       1,017.00
                        continue to prosecute case in California (1.4;
                        share internally with CRO (0.4)

12/19/24      IM        review of proposed agreed order from Taco                      0.30         169.50
                        Creditor

12/19/24      CH        Attention to supplemental service of sale order                1.90         418.00
                        and corresponding documents; meeting with I.
                        Marcushamer (.5); preparation and filing notice
                        of auction report (.5); edits to notice of closing
                        date and conversion; meeting with I.
                        Marcushamer (.3); send copy of order to client
                        (.1); final preparation and service of orders on fee
                        applications; order on motion to reject contract;
                        calendar rejection damage deadline; file
                        certificate of service (.5).

12/19/24      IM        Call regarding post closing items                              0.50         282.50

12/19/24      IM        Review Moecker Auction report (0.8); review                    1.10         621.50
                        notice of filing (0.3)

12/19/24      IM        Draft Notice of Closing and conversion to                      0.70         395.50
                        chapter 7

12/19/24      IM        Attention to order on motion to reject                         0.30         169.50

12/19/24      IM        status call with CRO regarding next steps                      1.00         565.00

12/19/24      IM        draft email with open items preconversion                      0.90         508.50

12/19/24      MH        Review and consider tax claim adjustment                       2.60       1,469.00
                        records and related correspondence with creditor
                        and Debtor tax advisors

12/19/24      MH        E-mail with client and reps. regarding post-sale               0.60         339.00
                        transition and related issues

12/20/24      IM        Review emails from landlord and discuss with                   0.70         395.50
                        team

12/20/24      IM        Call regarding transition items to buyer (0.3);                2.10       1,186.50
                        review of emails from operations team regarding
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Chapter 11 Filing                                                                                 Page 4


                        transition items and respond with guidance (1.9)

12/20/24      IM        review of w-2s for Taco Client of SPI (1.1);                 1.80       1,017.00
                        review of related correspondence (0.7)

12/20/24      MH        E-mail client and creditor rep. regarding tax                0.40         226.00
                        adjustment issues

12/21/24      CH        Receipt and review of agreed order granting                  0.20          44.00
                        creditor, Tacos 2000, Inc's Motion for Order
                        Authorizing and Directing to File Corrected
                        Wage and Tax Statements.

12/22/24      IM        Review and Finalize Conversion Orders                        3.90       2,203.50

12/22/24      CH        Final preparation and filing notice of closing               0.50         110.00
                        date and request to enter conversion order; send
                        for mailout; attention to email correspondence
                        regarding supplement.

12/23/24      CH        Preparation of second supplement to final fee                2.00         440.00
                        application; review of prebills and preparation of
                        exhibits; meeting with I. Marcushamer

12/23/24      MH        Confer with client and Debtor reps regarding                 1.30         734.50
                        resolution of tax claim issues

                                                        Hours:                      57.80
                                                     Total fees:                              $28,413.50

Expenses:

12/16/24      VB        CertificateOfService.com - Mailout of Court filings                       929.41

12/16/24      VB        CertificateOfService.com - Mailout of Court filings                     1,072.50

12/19/24      VB        CertificateOfService.com - Mailout of Court filings                       359.01

12/20/24      VB        CertificateOfService.com - Mailout of Court filings                       683.75

12/23/24      VB        CertificateOfService.com - Mailout of Court filings                       377.11

                                               Total expenses:                                 $3,421.78
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Payments & Adjustments:

12/18/24       Courtesy Adjustment                                                             1,580.00 CR

12/20/24       Payment received via Bill.com for Invoice No. 8216                            111,066.42 CR

                                   Total payments & adjustments:                            $112,646.42 CR

Retainer:

12/19/24       Retainer applied to Invoice No. 8216                                           84,626.50 CR

12/20/24                                                                                      42,077.50

                                               Retainer received:                            $42,077.50
                                                Retainer applied:                            $84,626.50 CR


Billing Summary

  Previous balance                                     $197,272.92
  Payments & adjustments                                112,646.42 CR
  Current fees & expenses                                31,835.28
  Retainer applied                                       84,626.50 CR

  Total now due                                         $31,835.28

  Retainer balance                                      $42,077.50

Aged Balance
                         Current              31-60            61-90        Over 90            Total
  Fees                $28,413.50              $0.00            $0.00          $0.00       $28,413.50
  Expenses             $3,421.78              $0.00            $0.00          $0.00        $3,421.78
  Total               $31,835.28              $0.00            $0.00          $0.00       $31,835.28


FIRM TAX ID - XX-XXXXXXX

FOR PAYMENT OF INVOICE - WIRE TRANSFER INSTRUCTIONS

PAYEE: DGIM Law, PLLC - Firm Operating Account
BANK Name: City National Bank of Florida
BANK Address: 100 SE 2nd Street Miami, FL 33131
ACCOUNT No.:
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ABA/ROUTING
SWIFT Code:               (International Wires only)
